EXHIBIT A




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                                                                                                     Transmittal Number: 23551334
Notice of Service of Process                                                                            Date Processed: 07/29/2021

Primary Contact:           Brad Orschel
                           Inspire Brands, Inc.
                           3 Glenlake Pkwy
                           Fl 5
                           Atlanta, GA 30328-3584

Electronic copy provided to:                   Derek Ensminger
                                               Bridget Peterson
                                               John Hopkins
                                               Matthew Becker

Entity:                                       Inspire Brands, Inc.
                                              Entity ID Number 3978154
Entity Served:                                Inspire Brands, Inc.
Title of Action:                              Cynthia Adkins Julian vs. Arby's Properties, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Rockingham County Superior Court, NC
Case/Reference No:                            21 CVS 1983
Jurisdiction Served:                          Georgia
Date Served on CSC:                           07/26/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Michele Cybulski
                                              336-373-1130

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




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8. As a result of her fall, Plaintiff sustained painful injuries requiring surgery.

                                     CAUSE OF ACTION

                           NEGLIGENCE OF DEFENDANT

9. Plaintiff re-alleges and incorporates herein by reference the preceding paragraphs of
   this Complaint as if fully set forth herein.

10. At all relevant times, the employees who failed to warn patrons, including Plaintiff, of
    the wet floor hazard, and who were otherwise negligent as set out in paragraph 15 were
    employees of Defendant.

11. At all relevant times, a relationship of master and servant existed between Defendant
    and Defendant’s employees.

12. The above described acts and omissions of Defendant’s employees are imputed by law
    to Defendant.

13. At all times relevant to this complaint, Defendant’s employees had a duty to carry out
    their work in a reasonable and safe manner.

14. At the about said time, date, and place, Defendant’s employees carried out their work
    in a negligent and reckless manner endangering those in the restaurant, including
    Plaintiff.

15. Defendant’s employees were negligent in the following ways:

       a. Failed to exercise ordinary care to maintain the restaurant’s restroom in a
          reasonably safe condition;
       b. Failed to take reasonable precautions to warn people, including Plaintiff, from
          hazards;
       c. Failed to correct and eliminate the hazard of a wet floor hazard which was
          known or reasonably should have been known, to one or more of Defendant’s
          agents or employees;
       d. Failed to otherwise warn, notify or provide notice to Plaintiff of a hazardous
          condition that was known, or reasonably should have been known, to one or
          more of Defendant’s agents or employees by placing a cone or warning sign at
          that location;
       e. Failed to keep restroom floors dry to prevent slick or slippery conditions on
          the tile floor;
       f. Failed to properly train employees or contractors with regard to proper safety
          procedures;
       g. Otherwise failed to act reasonably under the circumstances in ways to be
          adduced at trial.

16. The above described acts and omissions of Defendant’s employees were in the scope
    of their employment with Defendant; therefore, the Defendant is liable for those acts

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   and omissions under agency principles, including but not limited to, respondeat
   superior.

17. The knowledge, actual or constructive, of one or more of Defendant’s agents or
    employees of the hazardous condition that proximately caused Plaintiff to trip and fall
    is imputed to the Defendant under the doctrine of respondeat superior because this
    knowledge was obtained while each agent or employee was acting under the course
    and scope of his or her employment.

18. At all times alleged herein, Plaintiff was acting as a reasonable and prudent person
    and was not guilty of any act or omission that contributed to her injuries.

19. As a proximate and foreseeable result of the negligence of Defendant as described
    herein, Plaintiff suffered physical pain, suffering, mental anguish and emotional
    distress.

20. Because of her injuries, Plaintiff was treated by physicians and other health care
    providers and incurred reasonable and necessary medical expenses, as well as lost
    wages.

21. Plaintiff has sustained financial damages in excess of $25,000 including but not limited
    to medical care, pain and suffering, and lost wages.

WHEREFORE, the Plaintiff prays as follows:

1. That Plaintiff have and recover judgment against the Defendant for an amount in
   excess of Twenty-Five Thousand Dollars ($25,000) in compensatory damages,
   together with interest as allowed by law;

2. A trial by jury on all disputed issues of fact;

3. That all costs of this action including reasonable attorneys’ fees be taxed to the
   Defendants as permitted by North Carolina law; and

4. For such other and further relief as the Court may deem just and proper.


This the 26th day of August, 2021.


                                                     DEUTERMAN LAW GROUP




                                                     _____________________________
                                                     Michele Cybulski (NC Bar# 39617)

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        If you are aware of any document otherwise responsive to these requests, which
document is no longer in your custody or control, identify the name and title of the
author, name and title of the addressee, date of the document, subject matter of the
document or documents, the last date on which the document was in your control, the
person or entity, if any, now in control of the document, the reasons for your disposition
or release of the document, all persons who have knowledge of the circumstances
surrounding its disposition and state what knowledge each person has.

        If you cannot answer the following interrogatories in full, after exercising due
diligence to secure the information to do so, so state, and answer to the extent possible,
specifying your inability to answer the remainder, and stating whatever information or
knowledge you have concerning the unanswered portions.

        Pursuant to Rule 34 of the North Carolina Rules of Civil Procedure, the plaintiff
hereby requests that the defendant produce the originals of all documents herein
requested and permit the plaintiff to inspect and copy the same, at the law office of
Deuterman Law Group, 3524 Lawndale Drive, Greensboro, North Carolina, on the forty-
fifth (45th) day following service of these Interrogatories, Requests for Production of
Documents, and Requests for Admissions. In the alternative, the defendant may comply
with these requests by attaching legible copies of all such documents and clearly
designating the interrogatory to which each document or group of documents pertains.

        In the event the defendant should fail to answer or should provide evasive or
incomplete answers to any of the discovery requests set forth below, or in the event the
defendant should fail or refuse to produce any of the documents requested herein, the
plaintiff puts the defendant on notice that the plaintiff will move the Court, pursuant to
Rule 37(a)(4) of the North Carolina Rules of Civil Procedure, for the reasonable
expenses, including attorney's fees, incurred by the plaintiff to move the Court to compel
the defendant to provide answers or to provide adequate or complete answers to all such
discovery requests and to produce all such documents requested herein.

       For the purposes of these discovery requests, the meaning of the word
"document" shall include, but not be limited to, writings, drawings, graphs, charts,
photographs, reports, phonograph records, computer records, digital recordings, and other
data compilations from which information can be obtained or translated, if necessary,
through detection devices or other equipment, into usable form.

       You are required and have a lawful duty to supplement, update and amend your
responses and answers to these discovery requests in the following instances:
       1.     Any requests or questions directly addressed to:
              a.     The identity and location of persons having knowledge of
                     discoverable matter; and
              b.     The identity of each person expected to be called as an expert
                     witness at the trial, the subject matter on which he is to testify and
                     the substance of his testimony.



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       2.      Any responses or answers to questions or requests if you obtain
               information upon the basis of which:

               a.      You know or discover that the prior response was incorrect or
                       incomplete when made; or
               b.      You know that the response, though correct when made is no
                       longer true and the circumstances are such that a failure to amend
                       the response is in substance a knowing concealment.

                                       DEFINITIONS

        Unless otherwise indicated, the following definitions shall be applicable to these
Interrogatories, Requests for Production of Documents and Requests for Admissions:

      "You" and "Your" shall mean the defendant and each of his, her, or its attorneys,
employees, agents, or representatives, and all other persons acting on or in your behalf.

       "Person" shall mean any individual, partnership, firm, association, corporation, or
other business, governmental, or legal entity.

       "Document" shall mean any written, recorded, transcribed, filmed, or graphic
matter of any kind or description, however produced or reproduced, all as further defined
hereinabove.

       "Address" shall mean the street number, street, city and state of subject person,
business or other entity.

        "Identify" or "Identification", when used with reference to a person, shall mean to
state the full name, present or last known address and telephone number of said person.

         "Identify" or "Identification", when used with reference to a document, shall mean
to state its date, author, or signer, his or its address, type of document, and all other
means of identifying it and its present or last known location or custodian; if any
document was but is no longer in the possession, custody, or control of the named
defendant or those identified previously under the definition of "You" or "Your", state
what disposition was made of it and the reason for its disposition.




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                               INTERROGATORIES

1. Please identify all persons who have contributed information in responding to
   these interrogatories by stating their name, address, phone number, email address,
   and professional title.

ANSWER:

2. State the full name, address, and telephone number of every person known to you,
   your agents, employees, attorneys, representatives, or other persons acting on
   your behalf who claim to have witnessed all or any portion of the incident that is
   the subject of this litigation, who claim to have any knowledge or information
   whatsoever relating to the incident, and every person who was present at the time
   of or following the occurrence.

ANSWER:

3. Identify all persons having any information relating to any allegation in Plaintiff’s
   Complaint or any of the Defendant’s answers and provide a detailed summary of
   the specific information held by each such person.

ANSWER:

4. To the extent that you assert that any Defendant is not properly identified, state
   the proper identification of each such Defendant.

ANSWER:

5. Identify any written or oral statements obtained by you and/or your insurance
   carrier from the Plaintiffs, from any witnesses, from any employee, or from
   anyone who investigated the incident that is the subject of the Plaintiff’s
   Complaint.

ANSWER:

6. Identify each and every policy of insurance, including excess insurance policies,
   bonds, and/or reinsurance agreements which may provide coverage regarding any
   of the acts or omissions asserted against you in Plaintiff’s Complaint and for each
   such policy of insurance, identify the insurance company, the policy number, the
   coverage limits, and the coverage terms. This request shall include, but not be
   limited to liability policies, umbrella policies, and layered coverage.

ANSWER:




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7. Identify the name and present address of each person whom you expect may be
   called by you as an expert witness at this trial and describe in detail the subject
   matter on which each expert may be expected to testify including the substance
   and content of all facts and opinions about which each expert may be expected to
   testify at trial, and identify each and every document which summarizes, sets
   forth, gives any indication of, or bears any relationship to any of the said expert
   witnesses and/or their opinions, including any document upon which said expert
   may fully or in part base an opinion.

ANSWER:

8. Please describe all slip or trip and fall incidents in which your business or
   premises have been named as a defendant in a lawsuit occurring within five years
   prior to the date of the incident that is the subject of this litigation. Your
   description should include the names of the parties, the docket or index number,
   the court or agency involved, the nature of the incident, the injuries alleged, and
   the disposition.

ANSWER:

9. Please describe all slip or trip and fall incidents in which claims for liability
   insurance have been made against you or with any of your insurance carriers for
   personal injuries occurring within 5 years prior to the date of the incident that is the
   subject of this litigation. Your description should include the date of the accident,
   the location of the accident, the nature of any injuries complained of, whether
   liability was accepted or denied, and the ultimate disposition.

ANSWER:

10. Please describe all slip and fall and/or trip and fall lawsuits to which you have been
    a party as a result of an event that occurred on your premises. Your description
    should include the names of the parties, the docket or index number, the court or
    agency involved, the nature of the incident, the injuries alleged, and the ultimate
    disposition.

ANSWER:

11. Please identify the substance of any and all conversations between the Plaintiff, any
    witness, or any of your employees or agents, if any, which occurred immediately
    before or immediately following the accident about which you have knowledge.

ANSWER:

12. State whether or not the Plaintiff made any statements in any form, at any time, to
    any person concerning the incident that is the subject of this litigation. If so, state



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   the name and address of each person to whom such statements were made the
   content of such statements, and when each statement was made.

ANSWER:

13. State the substance of any conversation your employees or agents had with Plaintiff
    or Plaintiff’s representatives, agents, or servants regarding the incident that is the
    subject of this litigation. Include the date thereof and indicate who said what to
    whom.

ANSWER:

14. Please describe in full detail how the incident happened according to you, giving
    all events in detail in the order in which they occurred, before, at the time of, and
    after the incident, which had any bearing on the cause and manner of the incident
    that is the subject of the Plaintiff’s Complaint.

ANSWER:

15. Please list all acts, omissions, or events which you believe caused or contributed
    to cause the incident that is the subject of the Plaintiff’s Complaint.

ANSWER:

16. Identify all photographs or videos in your possession of Plaintiff’s fall that is the
    subject of the Plaintiff’s Complaint.

ANSWER:

17. Identify all accident/incident reports or other documents created to document the
    incident that is the subject of the Plaintiff’s Complaint.

ANSWER:

18. Provide the author, date created, and subject matter of any documents, exhibits,
    charts, diagrams, or depictions concerning the incident that is the subject of this
    litigation, the scene of the incident, or the persons or witnesses involved in the
    incident that are known to you.

ANSWER:

19. Identify all documents, communications, correspondence, and/or complaints of any
    kind between any person, former customer, employee, individual, and/or
    Defendants and any employee, agent, or office of Defendants prior to the day of the
    incident complained of within the Plaintiffs’ Complaint regarding your floors or
    any substances left on the floors.

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ANSWER:

20. Identify all documents, including but not limited to, employee training policies,
    manuals, protocols, and handbooks wherein the duties of those charged with
    maintaining the area where Plaintiff fell are stated.

ANSWER:

21. Identify all of your employees whom interacted with Plaintiff in any way on the
    date of the incident that is the subject of this litigation. For each employee, state
    their name, occupational title, and mailing address.

ANSWER:

22. State with specificity whether any of your employees were provided actual or
    constructive notice of the wet floor in the bathroom on which Plaintiff tripped and
    fell prior to Plaintiff’s fall. If your answer is in the affirmative, please state the
    manner of notice provided and how such notice was provided.

ANSWER:

23. Identify all documents provided by you stating the protocols for employees placing
    warning signs or other cautionary devices around substances on the floor.

ANSWER:

24. State with specificity whether you, any of your employees, any witness, or any
    person present provided a recorded statement of any kind to any insurance carrier
    after the incident that is the subject of this litigation. If so, state the date of the
    statement, and whether the liability claim submitted to the insurance carrier had
    been denied at the time the statement was provided.

ANSWER:

25. Identify all restaurant policies regarding how often the bathroom floors are
    inspected, whose duty it is to complete the inspections, and what is involved in an
    inspection.

ANSWER:

26. Identify the process used for cleaning the bathrooms, including but not limited to
    whose duty it is to clean them, how they are cleaned, and how often they are
    cleaned.

ANSWER:

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These interrogatories are continuing and require supplementation as mandated by
                  the North Carolina Rules of Civil Procedure.



                           REQUESTS FOR PRODUCTION

  1. Copies of any and all documents relied upon and/or identified within your
     Responses to Plaintiff’s First Set of Interrogatories.

  RESPONSE:

  2. Any photographs, videos, or digital recordings of any kind known to you or your
     attorneys, of the incident scene or the incident itself, as well as any camera footage
     taken within 24 hours before and after the date of the subject incident.

  RESPONSE:

  3. Please produce any and all documents you have furnished to any person whom
     you anticipate calling as a lay or expert witness.

  RESPONSE:

  4. Please produce a copy of any statement (written, oral, recorded, electronic or
     otherwise) which has been taken of any witness and/or party to this action by your
     or your insurance company.

  RESPONSE:

  5. Please produce the curriculum vitae of any expert you intend to call as a witness.

  RESPONSE:

  6. Please produce any documents upon which your expert witnesses will rely for
     testimonial purposes.

  RESPONSE:

  7. Please produce any expert report(s) that have been obtained from any expert(s)
     listed in your Answers to Interrogatories. If a report has not been prepared, the
     preparation of a report is requested.

  RESPONSE:




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8. Copies of any and all lawsuits and insurance claims alleging slip or trip and fall
   induced personal injuries that have been filed or claimed against you within 5 years
   prior to the date of the incident that is the subject of this litigation.

RESPONSE:


9. Copies of all documents related to this claim reviewed by, relied upon by, or
   prepared generated by each person you expect to call as an expert witness at the
   trial of this action.

RESPONSE:

10. A complete copy of any and all insurance policies that cover you for this accident.
    Do not simply provide a declarations page.

RESPONSE:

11. Copies of all other documents which you will otherwise use in the defense of this
    action.

RESPONSE:

12. Copies of all documents, including but not limited to communications,
    correspondence, and/or complaints of any kind between any person, former
    customer, employee, or other individual, and any employee, agent, or officer of
    you, your premises, or, within 5 years prior to the date of the incident that is the
    subject of this litigation regarding the raised floor outlet covers.

RESPONSE:

13. Copies of all documents, including but not limited to, employee training policies,
    manuals, protocols, and handbooks wherein the duties of store employees are
    described.

RESPONSE:

14. Copies of any employee policy, job duty, or job description for which a purpose is
    to detect and/or remove substances or hazards on the premises or post signs warning
    of dangers.

RESPONSE:

15. Copies of all documents regarding how often the bathroom floors are inspected,
    whose duty it is to carry out the inspections, and what is involved in an
    inspection.

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RESPONSE:

16. Copies of all documents regarding how often the bathrooms are cleaned, whose
    duty it is to clean them, and how they are cleaned.

RESPONSE:
17. Copies of any logs or other documents showing which employees cleaned the
    bathrooms during the week of the incident that is the subject of this litigation.

RESPONSE:

18. Produce copies of all accident and/or incident reports created as a result of the
    incident that is the subject of this litigation.

RESPONSE:

19. Produce copies all accident and/or incident reports created as a result of a slip and
    fall or trip and fall occurring on the premises within 5 years prior to the date of the
    incident that is the subject of this litigation.

RESPONSE:

20. Produce copies all statements, communications, and documents, whether written,
    electronic, or oral, of any kind of you or any agent or employee of yours regarding
    the incident that is the subject matter of this litigation with any non-lawyer.

RESPONSE:

21. Produce a copy of any statement (written, oral, recorded, electronic, or otherwise)
    which has been taken of any witness, employee, and/or party to this action by you
    or your insurance company.

RESPONSE:

22. Produce a copy of any written contracts, agency agreements, and franchise
    agreements between you and Defendant.

RESPONSE:


 These requests for production are continuing and require supplementation as
        mandated by the North Carolina Rules of Civil Procedure.




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                              REQUESTS FOR ADMISSION

    Pursuant to Rules 26 and 36 of the North Carolina Rules of Civil Procedure, you are
requested to admit the truthfulness of the statements separately and fully in writing under
oath that follow within the time permitted by these Rules.

   You are requested to admit the following:

   1. That the Defendant, RTM OPERATING COMPANY, LLC, is a business
      corporation duly organized and existing under the laws of the State of Delaware
      with is principal office address located at Three Glenlake Parkway, NE, Atlanta,
      Georgia, 30328

   ANSWER:


   2. That at all times relevant herein, Defendant, RTM OPERATING COMPANY,
      LLC, was conducting business in North Carolina.

   ANSWER:

   3. That at all times relevant herein, Defendant RTM OPERATING COMPANY,
      LLC, owned the Arby’s restaurant located at 838 S. Van Buren Rd., Eden, North
      Carolina 27288.

   ANSWER:

   4. That at all times relevant herein, Defendants RTM OPERATING COMPANY,
      LLC, operated the Arby’s restaurant located at 838 S. Van Buren Rd., Eden,
      North Carolina 27288.

   ANSWER:


   5. That Defendant, RTM OPERATING COMPANY, LLC was properly served with
      process in this matter.

   ANSWER:



This the 26th day of August, 2021.


                                                     DEUTERMAN LAW GROUP



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